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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

SILICON LABORATORIES, INC., CASE NO. 14-cv-03227-JCS

Plaintiff, STIPULATION AND

JOINT MOTION TO DISMISS CIVIL

v. ACTION; ORDER THERE ON
CRESTA TECHNOLOGY Judge: Honorable Joseph C. Spero
CORPORATION,

Defendant.

 

 

Pursuant to Federal Rule of Civil Procedure 4l(a)(l)(A)(ii), Plaintiff Silicon Laboratories,
Inc. and Defendants DBD Credit Funding LLC and CF Crespe LLC, having settled their dispute,

hereby stipulate and agree to, and hereby request the court to order, a dismissal with prejudice of

42452836.1 CUe No. l4-cv-03227-JCS

 

 

STIPULATION AND JOINT MOTION TO DISMISS; ORDER Tl-[EREON

 

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all claims and counterclaims, defenses, and prayers for relief in this action. Each party shall bear

its own costs, expenses, and attorneys’ fees.

Dated: September 26, 2018
KELLER & BEN NUTTI LLP

 

 

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IT IS SO ORDERED.

Dated:

 

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*Signed with permission

ORDER

 

JOSEPH C. SPERO
CHIEF MAGISTRATE JUDGE

- 2 - case No. 14-cv4)3227-Jcs

 

STIPULATION AND JOIN'I` MO'I'ION 'I`O DISMlSS; ORDER THEREON

 

